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 2   ROBERT M. TWISS
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 4   Telephone: (916) 554-2767
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 7
 8                IN THE UNITED STATES DISTRICT COURT FOR THE
 9                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )       CR. No. S-06-390 EJG
                                   )
12                   Plaintiff,    )       STIPULATION AND ORDER
               v.                  )
13                                 )
                                   )
14   TERRY TONG,                   )
                                   )
15                    Defendant.   )
     ______________________________)
16
17          The defendant, through his undersigned counsel, and the
18   United States, through its undersigned counsel, agree and
19   stipulate that the hearing for imposition of judgment and
20   sentence currently scheduled for Friday, August 8, 2008 should be
21   continued until Friday, September 26, 2008.         The delay is
22   necessary to complete matters necessary for sentencing.           Counsel
23   for defendant concurs, and authorizes the undersigned to sign for
24   him.    The Probation Officer also concurs in the new date.
25   Dated: August 6, 2008
26                                       McGREGOR W. SCOTT
                                         United States Attorney
27
                                           /s/ Robert M. Twiss
28                                    By:_______________________
                                         ROBERT M. TWISS
                                         Assistant U.S. Attorney
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 1   Dated: August 6, 2008
 2                                      TERRY TONG
                                        Defendant
 3
 4                                          /s/ Robert M. Twiss for
 5                                    By:________________________
                                         ANTHONY BRASS
 6                                     Counsel for Defendant
 7
 8                            ORDER
 9        IT IS SO ORDERED.    This matter is continued until 10:00 a.m.
10   on Friday, September 26, 2008 for imposition of judgment and
11   sentence.
12
13   Dated: August   7, 2008
                                               /s/ Edward J. Garcia
14                                              EDWARD J. GARCIA
                                                Senior U.S. District Judge
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